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 5   Attorneys for Defendant
     SHAY DIN ALTIT
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 8                           UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF                      ) Case No. 2:12-CR-0389 MCE
                                               )
12
     AMERICA,                                  ) ORDER TO ALLOW DEFENDANT
                                               ) SHAY ALTIT TO TRAVEL TO
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                    Plaintiff,                 ) THAILAND FOR WORK
                                               )
14
           vs.                                 )
                                               )
15
     SHAY DIN ALTIT,                           )
                                               )
16
                    Defendants.                )
                                               )
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           IN CONSIDERATION OF THE CONDITIONS STIPULATED AND
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     AGREED to by Defendant Shay Altit, by and through his counsel of record, the
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     Law Offices of Mark J. Werksman, and the United States of America, by and
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     through Assistant United States Attorney Lee Bickley, defendant Altit shall be
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     allowed to travel to Thailand for business purposes on two separate occasions:
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     from April 20, 2013 through April 27, 2013; and from June 22, 2013 through July
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     6, 2013.
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           IT IS FURTHER STIPULATED AND AGREED as follows: that Mr. Altit
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     shall provide to the Pre-Trial Services office a detailed itinerary of his travel plans
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     to and from and within Thailand no later than one week prior to his departure on


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     each trip; that the Pre-Trial Services in Sacramento shall forthwith transmit Mr.
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     Altit’s passport to the Pre-Trial Services Office in Los Angeles, which is currently
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     supervising Mr. Altit; that Mr. Altit’s passport shall be returned to him by the Los
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     Angeles Pre-Trial Services office no later than two (2) court days prior to his
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     departure to Thailand for each trip; and that Mr. Altit shall check in with his Pre-
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     Trial Officer and return his passport to the Pre-Trial Services office within one
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     court day of returning to Los Angeles.
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           All other terms and conditions of Mr. Altit’s supervision shall remain in full
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     force and effect.
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           IT IS SO ORDERED.
11   DATED: April 12, 2013
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                                          __________________________________________
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                                          MORRISON C. ENGLAND, JR., CHIEF JUDGE
15                                        UNITED STATES DISTRICT JUDGE

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